Case 1:16-cv-00781-PAB-MLC Document 55 Filed 12/31/17 USDC Colorado Page 1 of 6




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 16-cv-00781-PAB-MLC

  CHRISTOPHER M. ORWIG,

          Plaintiff,
  v.

  FELICIA BROOKS, Sterling Corr. Facility Kitchen Manager, in her Official & Individual
  Capacity, et al.

          Defendants.

  ___________________________________________________________________

       OPPOSED MOTION TO AMEND COMPLAINT & REQUEST FOR LEAVE
     TO FOREGO THE REQUIREMENTS OF D.C.COLO.LCivR 15.1(a) REGARDING
                              REDLINE OF CHANGES
  ______________________________________________________________________________

          Plaintiff Christopher M. Orwig, by and through his attorney, Julian G.G. Wolfson of the

  LAW OFFICE OF JULIAN G.G. WOLFSON, LLC, herby submits the following in support of his

  Motion:

                        CERTIFICATION PURSUANT TO D.C.COLO. LCIVR. 7.1

       1. Counsel for Plaintiff, Julian G.G. Wolfson, hereby certifies that he conferred with

          Jennifer Huss, counsel for Defendants, via email on December 22, 2017, who stated that

          Defendants oppose the relief sought herein.

                                            BACKGROUND

       2. Plaintiff’s Complaint was originally filed pro se on April 4, 2016. [Doc. 1].

       3. On April 8, 2016, the Court ordered Plaintiff to file an Amended Complaint to fix various

          deficiencies associated with his initial Complaint. [Doc. 5].




                                                  -1-
Case 1:16-cv-00781-PAB-MLC Document 55 Filed 12/31/17 USDC Colorado Page 2 of 6




     4. Based on the Court’s April 4 order, Plaintiff filed an Amended Complaint on April 25,

        2016. [Doc. 6].

     5. On July 18, 2016, Defendants filed a Motion to Dismiss all claims. [Doc. 14].

     6. On February 16, 2017, Magistrate Judge Shaffer issued a recommendation granting

        Defendants’ Motion to Dismiss in its entirety. [Doc. 30].

     7. On March 17, 2017, after Plaintiff had filed an objection, the Court accepted in part and

        reserved in part Magistrate Judge Shafer’s recommendation. [Doc. 32].

     8. Mr. Wolfson was appointed by the Court’s Civil Pro Bono Panel to serve as Plaintiff’s

        attorney on September 1, 2017. [Doc. 36].

     9. In anticipation of Mr. Wolfson’s representation, Plaintiff filed a Motion to Extend

        Discovery on October 11, 2017. [Doc. 43].

     10. On October 13, 2017, Mr. Wolfson enter an appearance on behalf of Plaintiff. [Doc. 45].

     11. Days later, on October 16, 2017, the Court granted Plaintiff’s Motion to Extend

        Discovery and provided Plaintiff up until January 31, 2018 to conduct discovery. [Doc.

        46].

     12. Approximately one month later, on November 7, 2017, Plaintiff was transferred from the

        Sterling Correctional Facility to the Cheyenne Mountain Reentry Center in Colorado

        Springs, Colorado, where he currently remains incarcerated.

                                          LEGAL STANDARD

     13. The grant or denial of leave is committed to the discretion of the district court. See

        Duncan v. Manager, Dep’t of safety, City and County of Denver, 397 F.3d 1300, 1315

        (10th Cir. 2005).




                                                  -2-
Case 1:16-cv-00781-PAB-MLC Document 55 Filed 12/31/17 USDC Colorado Page 3 of 6




     14. The Court must heed Rule 15’s mandate that leave is to be “freely given when justice so

        requires.” Fed. R. Civ. P. 15(a); see also Foman v. Davis, 371 U.S. 178, 182 (1962). “If

        the underlying facts or circumstances relied upon by a plaintiff may be a proper subject

        of relief, he ought to be afforded an opportunity to test his claim on the merits. Foman,

        371 U.S. at 182.

     15. Leave to amend should be refused “only on a showing of undue delay, undue prejudice to

        the opposing party, bad faith or dilatory motive, failure to cure deficiencies by

        amendments previously allowed, or futility of amendment.” Duncan, 397 F.3d at 1315.

                                              ARGUMENT

     16. Plaintiff largely wishes to amend his Complaint in order to add Rick Raemisch, the

        Executive Director of the Colorado Department of Corrections, as a Defendant in his

        official capacity.

     17. Plaintiff seeks to add Mr. Raemisch as a Defendant in light of Plaintiff’s recent transfer

        from the Sterling Correctional Facility to the Cheyenne Mountain Reentry Center, as

        such transfer may have rendered his claims for injunctive relief moot. See Jordan v. Sosa,

        654 F.3d 1012, 1027-29 (10th Cir. 2011) (“When a prisoner files suit against

        prison officials who work in the institution in which he is incarcerated, seeking

        declaratory and injunctive relief on the basis of alleged wrongful conduct by those

        officials, and then that prisoner is subsequently transferred to another prison or released

        from the prison system, courts are presented with a question of possible mootness”).

     18. In attempt to ensure that Plaintiff’s claims for injunctive relief are not moot, Plaintiff

        seeks to add Mr. Raemisch as a defendant, as he is in the unique position of being able to

        effectuate the prospective relief sought by Plaintiff. Id. at 1028 (“Critically, in


                                                   -3-
Case 1:16-cv-00781-PAB-MLC Document 55 Filed 12/31/17 USDC Colorado Page 4 of 6




        determining that the transferred prisoner’ claims for declaratory or injunctive relief were

        not moot, […] courts have focused upon the fact that the prisoners had sued defendants

        who were actually situated to effectuate any prospective relief that the courts might see fit

        to grant—viz., that the prisoners had sued the director of the prison system or the prison

        system itself”).

     19. Additionally, Plaintiff seeks to amend his Complaint in order to ensure that all of the

        necessary details and factual allegation are provided to the Court.

     20. Plaintiff’s initial Complaint and First Amended Complaint were filed pro se without the

        assistance of counsel. As a result, these Complaints omitted certain key facts, which

        counsel believes will better assist both the Court and the parties in attempting to resolve

        this matter.

     21. In light of Plaintiff’s recent transfer to the Colorado Mountain Reentry Center and the

        fact that counsel was not entered on this case until October 13, 2017, it is clear that

        Plaintiff has not unduly delayed in seeking leave to further amend his Complaint.

     22. Plaintiff does not move to amend his Complaint in bad faith or with dilatory motive.

     23. No party will be prejudiced by the relief sought herein.

      REQUEST FOR LEAVE TO FORGO THE REQUIREMENTS OF D.C.COLO.LCIVR 15.1(A)

     24. Finally, Plaintiff requests leave to forgo the requirements of D.C.COLO.LCivR 15.1(a),

        which mandate that plaintiffs file a red-lined version of their previous complaint

        alongside their newly amended complaint.

     25. Plaintiff’s initial and First Amended Complaint were file pro se without the assistance of

        counsel.




                                                 -4-
Case 1:16-cv-00781-PAB-MLC Document 55 Filed 12/31/17 USDC Colorado Page 5 of 6




     26. While Plaintiff’s initial and First Amended Complaints were typed, they have been saved

         in a format that does not allow counsel to generate a red-lined version.

     27. Plaintiff does not intend to submit a redlined version, and requests leave to forego this

         requirement.

         WHEREFORE, Plaintiff respectfully requests that this Court grant the relief requested in

  the foregoing motion, accept as filed Plaintiff’s Second Amended Complaint attached as Exhibit

  1, and provide any other relief that is deemed just and proper.

         Respectfully submitted this 31st day of December 2017.

                                                LAW OFFICE OF JULIAN G.G. WOLFSON, LLC

                                                /s/ Julian G.G. Wolfson
                                                Julian G.G. Wolfson
                                                1630 Welton Street #413
                                                Denver, CO 80202
                                                720-507-5133
                                                jwolfsonlaw@gmail.com

                                                ATTORNEY FOR PLAINTIFF


                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 31st day of December 2017, a true and correct copy of the
  foregoing OPPOSED MOTION TO AMEND COMPLAINT & REQUEST FOR LEAVE
  TO FOREGO THE REQUIREMENTS OF D.C.COLO.LCivR 15.1(a) REGARDING
  REDLINE OF CHANGES was served to the following email address:

  Jennifer Susan Huss
  Colorado Attorney General’s Office
  Ralph L. Carr Colorado Judicial Center
  1300 Broadway
  Denver, CO 80203
  720-508-6602
  720-508-6032 (fax)
  jennifer.huss@coag.gov

  ATTORNEY FOR DEFENDANTS


                                                  -5-
Case 1:16-cv-00781-PAB-MLC Document 55 Filed 12/31/17 USDC Colorado Page 6 of 6




                                            /s/ Julian G.G. Wolfson




                                      -6-
